        Case 1:24-cv-07973-RA          Document 28      Filed 12/30/24     Page 1 of 1




                                                                    December 30, 2024



VIA ECF

Honorable Ronnie Abrams
United States District Court for the
Southern District of New York
500 Pearl Street
New York, NY 10007-1312


Re: Doe v. Combs et al., 1:24-cv-7973


Dear Judge Abrams:

        As you know, our firm represents Plaintiff John Doe in the above-captioned action. We
write to request an adjournment of the January 10th, 2025 conference at this time. We have been
in negotiations with defendants’ counsel regarding service of process, scheduling and case
management across numerous related actions, and have faced delays caused by defendant Combs
refusing to leave his cell to accept service. We believe that we have now reached an agreement in
principle with defendants’ counsel but are continuing to work out scheduling details in this and
other cases.

        Moreover, Mr. Buzbee, who is the lead attorney in these matters, would like to be present
at the conference but is unable to attend the on January 10, 2025. If Your Honor would be so
inclined to grant a brief adjournment to February, that would be appreciated by the parties.

       We thank the Court for your time and attention to this matter.



                                                         Respectfully,
                                                      /s/ Antigone Curis
                                                         Antigone Curis
